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                     IN THE UNITED STATES DISTRICT COURT
                 NORTHERN DISTRICT OF ILLlNOlS EASTERN DIVISION

IN RE:     Farzana Ahmed                                  )       Case No.
                                                          }
                                                          )
         Plaintiff                                        )       COMPLAINT
                                                          )
                                                          )
v.                                                        )       Jully .. emand Req uested
                                                          )
         Client Services, nc,                             )
         3451 Harry S. Truman Blvd                        )
         St. Chal1les, MO 63301-4047                      )
                                                          )
         Defendant                                        }

     Now comes Plaintiff, by and through her attomeys, and, for her Complaint alleges as
                                          follows:

                                               INTRODUC nON

                 1. Plajntrtf Farzana Ahmed, brings this action to secure redress from
                              J



                     un'awful collection pract'ces engaged'n by Defendant, Client SeNices,
                     Inc.. P 'ai n tjff aliege vi 0 la ti0 f1 of tM e Fa;r De b t CoUectio Practice s Act,
                     15 U.S,C. Secti'on 1692 et seq. ("FDCPA
                                                                      J
                                                                          ').




                 2, The FDCPA makes clear that with'n five days of              any inif:al
                     com m un,catfo n, a debt collector c early state wh 0 the cu rrent cred itor
                     ofthe Debtor is. 15 U.S,C. Section 16929


                                  APPLICABLE CASE LAW
                 3. In Janetos    V$.   Fulton Friedman & Guflace, LLP (No, 15-0 l' 8S9} (71'
                     Cir., 2016), the Seventh Circuit Court of Appears stated ff a dunning
                     letter fails to disclose the required language in 15 U.S.C. Section
                     1692g(a), it viol!ates the FDCPA.
                 4. Said case stated "[110 satisfy Secti'on 1692g{a), the debt coHector's
                     notice must state the required infonnation 'clearly enough that the
                     receipient is likely to understand it: Id.
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       5, Ifan initial dunning I'etter falls to disclose the required lirnfonmation
          c early., it via ,at,es the FDCPA, 'w"hourl fu· her proof of confussJi:on. Id.




       6. This ,court has jurisdiction pUirsuanUo28, U.S.C. Section 1331, 1337,
           1367; and 15 U.S.C. sectfon 1692(d).
       7. Venue is proper because a substantial part of the events givling rise to
          this claim occurred :n this   Dis~r;ct.



                              PARTIES
       8. Plaintiff, Farzana Ahmed (hereinafter      ~Plaintiff)   incurred an obligation
          'to pay mone'y, the primary purpose of wtilch was for persona;II, famHy,
          or househol'd uses (the Debt ".
       g, Plaintiff is a resident of the State of Illinois
       10. Defendant, Perfonnant Recovery, Inc. rDefendanf'), is a Missouri
          business entity wrttl an address of 3451 Harry S. Truman Blvd" St
          Charles, M'O 63301'-4047 operating as a cdlection agency, and is a
          "debt coUector" as the tenn is defiined by 15 U.S.C. Section 16-92a~6}.
       11 . Unless other'Nise stated here un, tne term "O e,fel1dant shal~ r:efer to
          Client Services, Inc.
       12.At some point, the orlginal credrtor, transferred this debt to Defendant
          for debt collectlon.


                                     ALLEGATIONS


       13. The Plai;Jtiff aHegedly incu red a financfa~ obligation In the approximate
          amount of $1739'.70 (the '''Oebt''') to an orig:iinal crediltor (the "Creditor')
       14. The Debt was purchased, assigned or transfelired '~O Defendant 'for
          collection or Defendant was employed by the Oreditor to co:llect to
          Debt.
       15, The Defendant attempted to collect the Debt and, as such, engaged in
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          ucommunicationsH as defined in 15 U,S.C, Section 1692a(2).
       16. On Apri'14" 20 ,6. Defendant sent an initial commun'catlon to Pllaintiff,
          See Exhibit A..
       17, The Upper left Caption stated: "RE: Citiban'k, N,A. - THE HOME
          DEPOT' See Exhibit A.
       18 The letter goes on to state "[lltle abo,ve Citibank, N,A. - "rHE HOME
          DEPOT account has been placed w· h our placed wrth our organ'zation
          for collections," See Exhibit A.
       1g. Nowhere does it state who Plajntiffs credrtor is: in fact it is quite
          confusing on this Section 1692g(a) requirement
       20, It is confusing and unclear who owns Plaintrff's debt.

                              81ANDI NG AND INJ URY

       21 , Plai ntjff has suffered an in] ury in fact that is traceab:re to Defendant's
          conduct and that is :l'ikely to be redresse<J by a favorab e decision 'tin
          this matter.
       22. Specifically. Plaintiff suffered a concrete informational injury as a result
          of Defendantis faji'u e to provide truthful~ mformation ,in (X)nnection with
          its attempt to collect an alleged debt from Plaintiff.
       23. The rights and obligations established by section 1692g were
          considered by the Senate at the time of passage to, be a ~sig ifican
          feature of the Act.      hils pr,ov~s'on [sectlon 1692'91 will elfminate the
          recurring problem ,of 001 ectors d nning Ule wrong person -or attemptng
          to col ect debts wh,ich the co sumer . asaJready paid,'         ,R.              2,
          9 lbCo"., L'tSess,4.at4,re rintedin 19'           ,S.C.C. • . 169\ ]69,
       24. The Pllaintiff has suffered and continues to suffer actual damages as a
          result ,of the Defendan, s unlawful conduct
       25,As a direc~ consequence of the Defendant's acts, practices and
          conduct, the PI ajntiff suffered and continues to suffer from humll:ation,
          anger, anxiety. and frustration.
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 VIOLA TIQNS OF THE FDCPA·15 U.S.C. SECTION 1692, et seq.
       26. The P~aintrff incorporates by reference all of the above paragraphs of
          this Complaint as though fully stated herein.
       27, The Defendant's conduct violated 15 U.S.C, Section 1692e in that it
          threatened Plaintiff with "further co lection efforts~ unless pay rent was
          made, without doing so,
       28. The Defendanfs conduct violated 15 U. S.C. Seelio            692g(a} by not
          stating clearly who the creditor was on this matter.
       29, The Defe dant's conduct violated 15 U.S,C, Sectton 1692e by
          suggesrng to·   P~atntiff   that she acted in a d is,graceful matter,


                                       JURY DEMAND
       30, Plaintrtf demands a trial by jUry.
                                       PRAYER FOR RE LIE F
       31. Plaintiff demands 'the fol1lowl 9 relief:
       WHEREFORE, the Court slhould enter Judgment in faivor ·of Plaintiff and
       against Defendant for:
                    (1) statutory damages;

                      (2) Attorney fees. litigation expenses and costs of surt~ and

                      (3) Such other and fLJrther relief as the Court deems proper.

                                                       RespectfLJny:submitted,




                                                  lsi John earl'n
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